      Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 1 of 9




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

BEACH TV PROPERTIES, INC.,

        Plaintiff,                                    CASE NO.: 3:06-CV-241-RV-MD

vs.

BELLSOUTH MOBILITY, LLC,
d/b/a CINGULAR WIRELESS

      Defendant.
___________________________________/

      DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT AND
                  MEMORANDUM OF LAW IN SUPPORT

        Defendant New Cingular Wireless, PCS, LLC successor in interest to BellSouth

Mobility, LLC, (hereinafter known as “Cingular”)1 by and through its undersigned

counsel, respectfully re-submits this motion to dismiss Plaintiff Beach TV Properties,

Inc.’s (hereinafter known as “Beach” or “Plaintiff”) Complaint.2 Specifically, Cingular

moves to dismiss each of claims of the complaint – possession (count one), damages

(count two), and waste (count three).

                              I.     STATEMENT OF FACTS

        Cingular is a provider of an array of wireless services. As part of its business


1
  BellSouth Mobility, LLC merged into New Cingular Wireless PCS, LLC on December
31, 2004.
2
  Cingular timely filed its original motion to dismiss in the state court on May 24, 2006.
Before the state court ruled on its motion and pursuant to N.D. Fla. Loc. R. 7.2, a true and
legible copy of the state court file, including the original motion to dismiss, was filed as
an exhibit to Cingular’s Notice of Removal. It has recently come to the undersigned’s
attention that this motion is not on the Court’s pending motions docket. Consequently,
Cingular is re-filing its original motion for ruling by this Court.



TPA#2220893.4
            Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 2 of 9




    Cingular retains cell sites in various regions to expand its network, provide greater

    network depth, enhance transmission quality, and reduce the number of blocked and

    dropped calls for its subscribers. On May 15, 2003, Plaintiff and Cingular entered into a

    Tower Lease Agreement (“Lease Agreement’) for a location in Destin, Florida. (Compl.

    ¶ 3).       The Lease Agreement provided Cingular (1) space on a communications tower

    owned by Plaintiff for antennas used for cellular telephone communication and (2) space

    for installing an equipment shelter to house electrical equipment needed for cellular

    telephone communications. (Compl. ¶¶ 6-7).

                Plaintiff purports to bring this action based on equipment drawings including

    antennas attached to the Lease Agreement. Significantly, Plaintiff fails to append those

    drawings to its Complaint. Consequently, Plaintiff’s Complaint should be dismissed. In

    count one, Plaintiff improperly combines two distinct causes of actions and despite

    demanding a judgment awarding possession, Plaintiff openly admits that it has already

    retaken possession of the leased property. Accordingly, count one is moot should be

    dismissed. The Court should also dismiss counts two and three for failure to state a cause

    of action.


                        II. ARGUMENT AND CITATION OF AUTHORITY

    A.    Dismissal is Proper for Failure to Attach a Critical Portion of Lease
    Agreement.

                Plaintiff’s Complaint must fail because Plaintiff failed to incorporate or attach the

    relevant portions of its Lease Agreement to the Complaint.               Florida Rule of Civil

    Procedure 1.130(a) provides that all contracts or documents "upon which action may be




TPA#2220893.4                                     2
          Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 3 of 9




    brought ... shall be incorporated in or attached to the pleading." Consequently, if a

    complaint is based on a written instrument, then that complaint "does not state a cause of

    action until the instrument or an adequate portion thereof is attached to or incorporated

    in" the complaint. See Safeco Ins. Co. v. Ware, 401 So.2d 1129, 1130 (Fla. 4th DCA

    1981). The portion of the Lease Agreement which Plaintiff attached to its Complaint and

    upon which it relies for each count of its Complaint provides, in part, as follows:

                     LANDLORD agrees that TENANT is authorized to
                     perform, the installation, maintenance, and operation, all at
                     TENANT’s sole expense, of the following equipment and
                     associated antennas:

                            (a) Wireless antenna systems and associated
                     equipment to be mounted on the Tower and in the foot
                     range on the Tower, such type of systems, equipment, and
                     range as stipulated in the attached Exhibit A of this
                     Agreement (underscoring added).

    See Paragraph 6 of Lease Agreement attached to Complaint as Exhibit “1.” As framed by

    Plaintiff, the number and location of the antenna systems and associated equipment

    installed by Cingular at the Premises is the central matter in contention in this case.

    Plaintiff however, failed to attach Exhibit A of the Lease Agreement to the Complaint.

    Plaintiff’s failure to attach Exhibit A of the Lease Agreement, which presumably

    addresses the central issue raised in the Complaint is contrary to the requirements of Rule

    1.130(a) and grounds for dismissal. Striton Properties, Inc. v. City of Jacksonville Beach,

    533 So.2d 1174 (Fla. 1st DCA 1988). Defendant Cingular hereby moves to dismiss this

    action brought against it on the grounds that Plaintiff has not satisfied the requirements of

    Rule 1.130(a).




TPA#2220893.4                                  3
          Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 4 of 9




    B.          Dismissal of Count I is Proper for Failure to State a Cause of Action for

    Possession.

                Plaintiff’s cause of action for possession must fail because by Plaintiff’s own

    admission, Cingular has already surrendered possession of the leased property.

    Plaintiff’s own pleadings and exhibits attached thereto, affirmatively allege that Plaintiff

    has already retaken possession of its property and is trying to relet that property.3 Hence,

    there can be no viable claim for possession. Moreover, in Plaintiff’s September 8, 2005

    letter to Cingular, Plaintiff advised that if Cingular failed to remove its equipment by

    November 23, 2005, Plaintiff would either consider that equipment abandoned or

    Plaintiff would remove the equipment at Cingular’s expense.                 See Exhibit “3” to

    Complaint. Without waiving any of its defenses and or rights and in response to such a

    demand, Cingular promptly removed its antennas and left the site. To the extent Cingular

    has not removed any portion of its equipment from the Premises,4 Plaintiff has already

    elected to treat the equipment as abandoned or has reserved the right to remove the

    equipment and to seek recovery of any associated removal costs from Cingular. See

    Exhibit “3” to Complaint.           In summary, having already retaken possession of the

    Premises, Plaintiff has no cause of action for possession.             As such, Count one the

    Complaint fails to state a cause of action for possession and should be dismissed.

                An additional basis exists to dismiss Plaintiff’s claim for possession. It is



    3
      See Complaint, ¶ 32, in which Beach asserts it is presently attempting to rent the
    Premises to third parties.
    4
      Cingular denies it is required to remove any remaining equipment under the terms of the
    Lease.



TPA#2220893.4                                     4
          Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 5 of 9




    undisputed that Florida pleading practice allows pleading of alternative causes of action

    in one pleading. Quality Type & Graphics v. Guetzloe, 513 So.2d 1110 (Fla. 5th DCA

    1987). If a plaintiff is unsure of the correct legal basis for relief, he may plead in the

    alternative.      Dichristopher v. Board of County Commissioners, 908 So.2d 492 (Fla. 5th

    DCA 2005).          With respect to actions for possession, Florida’s Supreme Court has

    specifically approved different forms of pleading to recover possession for “eviction”

    (Form 1.947) and to recover possession for “unlawful detainer” (Form 1.938). However,

    Plaintiff has improperly blended these two quite distinct causes of action with their

    different elements into one single count. In Count one, Plaintiff specifically references

    both an action for unlawful detainer under Chapter 82, Florida Statutes, and an action for

    removal of a tenant under Chapter 83, Florida Statutes. This is improper pleading

    practice and such failure to comply with basic pleading procedure also justifies dismissal

    of this cause of action.

        C. Count II Fails to State a Cause of Action for Damages

                In Count two, Plaintiff asserts a claim for damages against Cingular in excess of

    $1,000,000 on the basis that Plaintiff has been unable to obtain a new tenant for the

    leased property due to Cingular alleged breach of the lease. (Compl. ¶¶ 32 – 33).

                Assuming that there was a breach of the lease, Florida law provides that a lessor

    has three alternative courses of action: (1) The lessor may treat the lease as terminated

    and retake possession for his own account, thus terminating any further liability on the

    part of the lessee; or (2) the lessor may retake possession of the premises for the account

    of the lessee, holding the lessee liable for the difference between rental stipulated to be




TPA#2220893.4                                   5
          Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 6 of 9




    paid under the lease agreement and what, in good faith, the lessor is able to recover from

    a reletting; or (3) the lessor may stand by and do nothing, holding the lessee liable for the

    rent due as it matures, which means all remaining rent due if there is an acceleration

    clause and the lessor chooses to exercise the right to accelerate. Coast Federal Savings

    and Loan Assoc. v. Deloach, 362 So.2d 982, 984 (Fla. 2d DCA 1978); Grove Restaurant

    and Bar, Inc. v. Razook, 571 So.2d 596, 597 (Fla. 2d DCA 1990). Florida courts have

    held that either of the first two choices excludes the third. Id.

                In this instance, the Lease Agreement contains no provision which would allow

    Plaintiff to accelerate future rents in the event of a breach by Cingular. Without such a

    provision, Plaintiff is not entitled to accelerate any future rents. See National Advertising

    Co. v. Main Street Shopping Center, 539 So.2d 594 (Fla. 2d DCA 1989).                Moreover,

    according to the Complaint, Plaintiff has retaken possession of the Premises for the

    purpose of reletting it. See Compl. ¶ 32. As a consequence, even assuming the lease

    agreement did contain an acceleration clause, which it clearly does not, Plaintiff would be

    prohibited from accelerating any future rents. Specifically, by retaking possession either

    for his own account or for the account of the lessee, a lessor loses the right to recover the

    full amount of rental due on the basis of an acceleration clause.       Coast Federal Savings

    and Loan Assoc. v. Deloach, 362 So.2d 982, 984 (Fla. 2d DCA 1978); Grove Restaurant

    and Bar, Inc. v. Razook, 571 So.2d 596, 597 (Fla. 2d DCA 1990).

                In fact, Plaintiff has repeatedly stated that it has terminated the lease. Hence, as

    a matter of law, Plaintiff has retaken possession for its own account and has no claim for




TPA#2220893.4                                    6
          Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 7 of 9




    loss of future rent.        There was no rent owed when the Lease was terminated.5

    Accordingly, Count two of the Complaint fails to state a cause of action for damages and

    should be dismissed with prejudice.

    IV.         Plaintiff Fails to State a Cause of Action for Waste

                To support its contentions in Count three, Plaintiff alleges that Cingular

    improperly modified its installations on the Premises by adding approximately three new

    antennas and by expanding its equipment shelter without Plaintiff’s authorization.

    Compl. ¶ 40. Waste is defined as the “destruction or material alteration of any part of a

    tenement by a tenant for life or years to the injury of the person entitled to the

    inheritance, as an unlawful act or omission of duty on the part of the tenant which results

    in permanent injury to the inheritance and as any spoil or destruction done or permitted

    with respect to lands, houses, gardens, trees, or other corporeal hereditaments by the

    tenant thereof, to the prejudice of him in reversion or remainder, or, in other words, to the

    lasting injury of the inheritance.” (emphasis added) Stephenson v. National Bank of

    Winter Haven, 92 Fla. 347, 350, 109 So. 424, 425 (Fla.1926).

                Even assuming Cingular did install one or more antennas on the Premises without

    Plaintiff’s permission, which Cingular denies, all of Cingular’s antennas were removed

    from the Premises by Cingular before Plaintiff retook possession of the Premises. See

    Compl. ¶¶ 22, 42.         As such, Plaintiff cannot have suffered any injury, permanent or

    otherwise, as a result of Cingular’s installation of antennas at the Premises.


    5
      Pursuant to the Lease Agreement, Cingular has paid all the rent due and owing to Beach
    through June 2006. See Paragraph 24 of Lease Agreement attached to Complaint as
    Exhibit “1.”



TPA#2220893.4                                  7
          Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 8 of 9




                Plaintiff also alleges that Cingular committed waste by “expanding its equipment

    shelter in a manner that exceeded the approved areas both within and outside the Site,

    including, without limitation, placement of support column(s) outside the boundaries of

    the Premises.”        Compl. ¶ 40.    Contrary to Plaintiff’s assertions, however, Plaintiff

    expressly granted to Cingular

                the right to use such portions of LANDLORD’s contiguous or surrounding
                property (“LANDLORD’s Surrounding Property”) as are reasonably
                required during construction, installation, maintenance and operation of
                the Communications Facility.

    See Paragraph 6 of Lease Agreement attached to Complaint as Exhibit “1.” The Lease

    Agreement provided Cingular “approximately six hundred square feet adjacent to the

    Tower… for the purposes of installing an equipment shelter to house electronic

    equipment…” Compl. ¶ 7.            To the extent the equipment shelter was installed outside

    the boundaries of the Premises, such installation was done with the explicit consent of

    Plaintiff, as set forth in the above provision of the Lease Agreement. The rule to be

    applied here is succinctly stated in 78 American Jurisprudence, Waste § 20 as follows:

    “[o]f course, an alteration authorized by agreement of the parties will not be considered

    waste.” See also Stephenson, 92 Fla. 351, 109 So. 426. Accordingly, Plaintiff has failed

    to state a cause of action for waste and this count should be dismissed.

                                            CONCLUSION

                For the foregoing reasons, Cingular requests this motion be granted and the Court

    dismiss Counts I, II and III of the Complaint with prejudice, together with such other

    relief as the Court deems appropriate including an award of reasonable attorneys fees and

    costs pursuant to the Lease Agreement.




TPA#2220893.4                                   8
          Case 3:06-cv-00241-RV-MD Document 7 Filed 08/14/06 Page 9 of 9




                                                     Respectfully submitted,

                                                     s/ Penelope A. Dixon
                                                     Penelope A. Dixon- Trial Counsel
                                                     Florida Bar Number 0335680
                                                     CARLTON FIELDS, P.A.
                                                     Post Office Box 3239
                                                     Tampa, Florida 33601
                                                     Telephone:     (813) 223-7000
                                                     Facsimile:     (813) 229-4133
                                                     E-Mail:        pdixon@carltonfields.com
                                                     Attorneys for New Cingular Wireless PCS,
                                                     LLC

                                  CERTIFICATE OF CONFERRAL

                The undersigned has consulted with counsel for the plaintiff, Casey Jernigan, who

    does not agree with the relief sought.

                                                    s/ Penelope A. Dixon
                                                Attorney

                                    CERTIFICATE OF SERVICE

                I CERTIFY that on the 14th day of August, 2006, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system which will send a

    notice of electronic filing to the following: D. Michael Chesser and Casey Jernigan, 1201

    Eglin Parkway, Shalimar, Florida 32579.


                                                     s/ Penelope A. Dixon
                                                     Attorney




TPA#2220893.4                                   9
